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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                          CASE NO. 15-CR-20126-001

  vs.                                           HON. ARTHUR J. TARNOW

FADI HASSAN HAMMOUD,

          Defendant.
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                            EXHIBITS TO
                 DEFENDANT, FADI HASSAN HAMMOUD’S,
                     SENTENCING MEMORANDUM

   A. Letter from CPA, Carl Masi
   B. Letter from Hassan F. Hammoud
   C. Letter from Maya Makhzoum
   D. Letter from Fadia Moussa
   E. Letter from Ibrahim Tanana
   F. Letter from Robert Ankeny
